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      Ltd. d/b/a Black Cube
   11
   12                     UNITED STATES DISTRICT COURT
   13        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   14
   15 ROSE MCGOWAN,                              CASE NO. 2:19-cv-09105-ODW-GJS
   16         Plaintiff,                         The Hon. Otis D. Wright II
   17        v.                                  [PROPOSED] ORDER GRANTING
                                                 DEFENDANT B.C. STRATEGY
   18                                            LTD.’S MOTION TO DISMISS
      HARVEY WEINSTEIN, DAVID
   19 BOIES, BOIES SCHILLER FLEXNER              [Lodged concurrently with Notice of
      LLP, LISA BLOOM, THE BLOOM                 Motion, Motion, and Memorandum of
   20 FIRM, B.C. STRATEGIES LTD.                 Points and Authorities]
      D/B/A BLACK CUBE,
   21                                            Date: May 11, 2020
                 Defendants.                     Time: 1:30 p.m.
   22                                            Place: Courtroom 5D
   23                                            Trial Date:         None Set
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                                                               Case No. 2:19-cv-09105-ODW-GJS
                      [PROPOSED] ORDER RE BLACK CUBE’S MOTION TO DISMISS
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    1        After consideration of Defendant B.C. Strategy Ltd. d/b/a Black Cube (“Black
    2 Cube”)’s Motion to Dismiss, including the moving, opposition, and reply
    3 memoranda, and arguments presented by the parties’ respective counsel, and good
    4 cause appearing, the Court finds that Black Cube’s Motion to Dismiss is
    5 GRANTED, and it is hereby ORDERED that:
    6        The causes of action against Black Cube (Counts I, II, III, IV, V, VI, VIII, IX
    7 and X) in Plaintiff’s Complaint are hereby dismissed with prejudice.
    8
    9        IT IS SO ORDERED.
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   11 DATED: _____________, 2020
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                                                Hon. Otis D. Wright II
   15                                           UNITED STATES DISTRICT JUDGE
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                                               1                Case No. 2:19-cv-09105-ODW-GJS
                       [PROPOSED] ORDER RE BLACK CUBE’S MOTION TO DISMISS
